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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                                                                                     v:,
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                                  WESTERN DISTRICT
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                                                                                                           ,cc:::
LATASHA CHANT A TENNIAL,                                                                                   rn
        Appellant,
                                                                                                           0
V                                                                        Civil No. 2:19-cv-2688-JTF-tmp



REI NATION LLC,

        Appellee(s},

        BankruptcyNo. 18-28470




                              LATASHACHANTA TENNIAL'S
                                 APPELLANT'S BRIEF


        COMES NOW, LaTasha Chanta Tennial, and files this brief to show this Honorable

Court the following:


                                       OPENING STATEMENT


        I refiled bankruptcy via chapter 13 on October 18, 2018, primarily in an effort to save my

home. The deadline for all creditors to file a proof of claim was barred on 12/19/2018. The

deadline to file a complaint to challenge dischargeability of certain debts was on 1/7/2019. The

confirmation hearing was held January 3, 2019; there were not any prior objections before the

hearing or at the confirmation hearing. The Administrative Order Allowing Claims was entered

on or around January 12, 2019.




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       Therefore, I requested an appeal for the September 12, 2019, Order that granted, the

Appellee, REI Nation's Motion to Terminate Automatic Stay, or In the Alternative for an Order

Deeming the Automatic Stay to Not Be in Effect as to Certain Real Property, IN REM and With

Prejudice. Respectfully, it appears that the UNITED ST ATES BANKRUPTCY COURT

WESTERN DISTRICT OF TENNESSEE WESTERN DISTRICT may have abused its

discretion when it granted the Appellee's motion.


                                                CASE FACTS


       Whereas, REI Nation, LLC, is not; and has never been my creditor. The Appellee is not

listed as a creditor in my bankruptcy case filing; case no. 18-28470-L, filed on 10/10/2018. REI

Nation filed a FED action IN THE SHELBY COUNTY GENERAL SESSION COURT on

7/2/19, Detainer Warrant No.: 2000770. The case was set fortrial on 7/24/19 at 1000 AM.

before Honorable Judge Betty Thomas Moore Division 5 [Room 115]; REI Nation was unable to

meet its burden of proof for possession of the subject property and requested a continuous until

8/21/2019. REI Nation filed a Motion to Terminate Automatic Stay, or ln the Alternative for an

Order Deeming the Automatic Stay to Not Be in Effect as to Certain Real Property, IN REM and

With Prejudice in the UNITED STATES BANKRUTCY COURT WESTERN DISTRICT OF

TENNESSEE WESTERN DISTRICT on 7/25/2019.


       Whereas, on 8/21/19 at 10:00 A.M. the trial was brought before Honorable Judge Lonnie

Thompson Division 6 [Rm 116]; REI Nation appeared yet, ill prepared for trial, and requested

that the case be continued again. The matter was rescheduled for 9/18/19.


       Whereas, I filed a Motion To Dismiss the case; and on Wednesday 9/18/19, at 10:00 A.M

in Division 4 [Rm 105] the trial was held before the Honorable Judge Deborah Henderson. I

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appeared before the Court to dispute and challenge the FED action; and raised the defense of the

wrongful foreclosure and bankruptcy case filings; additionally I informed G. S. Judge Deborah

Henderson of my wrongful foreclosure lawsuit against Carrington Mortgage Services and Bank

of America N.A. currently pending in the UNITED STATES COURT OF APPEALS FOR THE

SIXTH CIRCUIT. Judge Henderson advised REI Nation's attorney Mr. Russell Savory, that she

would not enter judgement before the Court of Appeals had an opportunity to make its ruling.

Respectfully, in the same breath Judge Henderson contradicted her previous statement when she

advised that I request to the United States Court of Appeals to STAY the state eviction

proceedings; then condescendingly the judge added that ifl could get the Court of Appeals to

Order a ST AY that she would not precede with the case. However, if the Court of Appeals

denies STAY then she may not have a choice and would proceed with the FED action.

Respectfully, Judge Henderson appear to be less than disingenuous, bias even, and seemingly

giving the impression of partisan fighting on the behave of REI Nation because when Judge

Henderson suggested that I ask a Federal Court to enjoin in State Court proceeding while

knowing that such a motion would not survive due to the Anti-Injunction Act is unethical and is

a form of misrepresentation. It goes without saying that the trial was an inequitable one-sided

scheme that sabotage my defense in the matter; also, the judge unfairly disregarded my Motion

To Dismiss the case, and additionally the judge unjustly avoided ruling in favor of the

Defendant-LaTasha Tennial; at a minimum Judge Henderson had an option to drop the case from

the Court's calendar in fairness. Instead the judge appears parti pris as she continued the case

until 10/9/19 at 10 o'clock after I provided the October 1, 2019 Court of Appeals' Order setting a

briefing scheduling as evidence at the judge's request to validate that the case is open.

Respectfully, it is apparent that Judge Henderson is bias because of unwarranted favoritism and


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preferential treatment toward REI Nation such as coaching REI Nation's attorney Mr. Savory

and indirectly allowing additional time for REI Nation to obtain Judge Henderson's anticipated

denial of STAY from the Court of Appeals; indeed the Order to deny the STAY provided REI

Nation with leverage at the 10/9/2019 court date. On October 9, 2019, the case was set to

reappear before General Sessions Judge Lonnie Thompson in Division 6 [Room 116]. Before I

received a copy of the Court of Appeals' October 7, 2019, Order denying the Preliminary

Injunction REI Nation anxiously presented the order to me and as evidence which ultimately

resulted in the judgement for possession. I filed a Notice of Appealed on I 0/14/ 19.


                                                ARGUMENT


    l. Whereas, REI Nation is not a creditor; Bank of America is not a creditor. However

       Carrington is the last known mortgage servicer and was including in my bankruptcy case

       but Carrington failed to secure a claim before the barred date. Neither REI Nation; Bank

       of America; nor Carrington is entitled to relief or possession of my house and should be

       order to surrender my title and compensate me for all applicable damages.

   2. Whereas, my lender is Community Mortgage Corporation since November 27, 2007 via

       refinance. On 12/27/2007, I received notice that Community Mortgage Corporation

       transferred the servicing ofmy loan to COUNTRYWIDE HOME LOANS effective

       January 1, 2008. It is important to note that the transfer of service does not affect the

       terms or conditions of my mortgage.

   3. Whereas, Bank of America N.A, successor by merger to BAC Home Loans Servicing,

       LP FKA Countrywide Home Loans Servicing, LP became the servicer of my loan by

       default and after merging with COUNTRYWIDE HOME LOANS. Bank of America is

       not my lender or the owner of the loan. I have never entered into an agreement of any
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    kind with Bank of America. October 2010, BAC HOME LOANS SERVICING, LP FKA

    COUNTRYWIDE HOME LOANS forged the assignment of my mortgage loan and

    recorded the assignment in the Office of the Shelby County Register by and through

    RECONTRUST COMPANY, N.A. last known address is 2380 Performance Dr., TX2-

    984-0407, Richardson, TX 75082, phone no., (800) 281-8219.

 4. Whereas, April 12, 2013, I received an Independent Foreclosure Review related to an

    IMPORTANT PAYMENT AGREEMENT INFORMATION ENCLOSED. The

    foreclosure review exposed "BANK OF AMERICA's" habitual predatory operational

    practices; and it was determined that "BANK OF AMERICA" breeched the agreement

    that it entered in with the federal banking regulators-the Office of Controller of Currency

    and the Board of Governors of the Federal Reserve System. Additionally, "BANK OF

    AMERICA" was found in connection with an enforcement action related to deficient

    mortgage servicing and foreclosure processes; therefore the regulators determined that

    the Fund I Independent Foreclosure Review Payment attached to the notice was based on
                                                                                                    ;
    the stage of my foreclosure and other consideration related to my foreclosure. fin short

    Bank of America took and misrepresented the "Bailout ''from the Obama Administration.

    The ;'Bailout" was intended to aid struggling homeowners avoid foreclosure./ As a

    direct result of the breeched agreement "Bank of America N.A." entered into with federal

    banking regulators-the Office of Controller of Currency and the Board of Governors of

    the Federal Reserve System caused Bank of America to lose its rights to service my

    mortgage loan. Needless to say Bank of America N.A. is no longer my mortgage servicer

    as of May 1, 2013. Case in point, Bank of America transferred the loan "as is" (lnl!aning

    there were no adjustments made to the loan despite the discoveries oftluforedosure reviett; to Carrington.



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 5. Whereas, November 1, 2013 "CARRINGTON" received a one-time payment $39,844.00

    on my behalf with conditions to cure the default status of the loan/I st mortgage.

    Carrington peiversely breeched the communication agreement. Case in point, after

    Carrington received the KEEP MY TENNESSEE HOME grant/ 2nd mortgage but never

    took the loan out of default status; Tennessee Housing and Development Agency

    (Tl-IDA) paid the money directly to Carrington and recorded the mortgage lien in the

    Office of the Shelby County Register. However the mortgage statement show otherwise;

    case in point, before the payment the loan balance was $92,597.38; and after the

    payment the balance show $87, 747.71, surely this is fraud. CARRINGTON committed

    other crimes such as dual tracking a foreclosure; on 9/4/2014 CARRINGTON foreclosed

    without notice in Bank of America's name concurrently while I was being considered for

    a loan modification. There are clear RESP A violations.

 6. Whereas, Bank of America is not authorized to foreclose on my house or transfer the

    ownership; Bank of America fraudulently transferred the ownership of my property three

    times and each transaction occurred while an automatic stay was imposed.


                                        ANAYLISIS


 7. Whereas, I digress Bank of America filed an unlawful detainer warrant in the Shelby

    County General Sessions Court on October 20, 2014; the case was set for trial 11/4/2014

    at which time my house was still in my name. The case was dropped from the court's

    calendar after the Circuit Court remanded the case back to General Sessions for judge

    Deborah Henderson to "Set Aside" her judgement February 24, 2016; that same day the

    wrongful foreclosure lawsuit was filed in the Chancery Court against Carrington and

    Bank of America by my attorney Kelly Pearson yet, nearly nine months later Bank of
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    America's attorney Rubin Lublin, LLC strategically filed an untimely Notice of Removal

    to this court regarding wrongful disclosure based on diversity of citizenship as a clever

    scheme to have the case dismissed; case in point, immediately after the case was put on

    the District Court docket Rubin Lublin motion to have the case dismissed for lack of

    jurisdiction but as Carrington's attorney. The case did not meet the criteria for diversity.

    Case in point, it was not complete diversity additionally the notice of removal was

    incomplete and should not have been allowed or remanded back to Chancery Court.

    Eventually, the case was dismissed and I appealed the order and currently the case is in

    the Court of Appeals. With no regard on 9/19/2018 Bank of America filed a General

    Sessions notice of case setting for the Fed action originally filed 10/20/2014; and on

    10/10/2018 the case was set then dropped from the calendar again due bankruptcy filings.

 8. Whereas, Bank of America filed a motion for relief after the barred date in the

    Bankruptcy Court. Along with a separated motion for an agreed occupant fee of$950 a

    monthly that was due 4/1/2019; however I DID NOT agree to pay an occupant fee, I was

    not in court when the order was entered, I sent my bankruptcy attorney Mr. Jimmy

    McElroy a detailed letter to explain my stance and wanted to appeal the agreement. I

    would not have agreed to the amount because $950 is unreasonable and is more than my

    total monthly income as well as the fair market value of rent in my area. I am on a fixed

    income due to a medical hardship and is the sole reason why I requested foreclosure

    prevention assistance and applied for the second mortgage loan. Bank of America was

    granted relief sometime in May of 2019.

 9. Whereas, June 12, 2019 Bank of America filed a new FED action that was set for trial

    7/9/19. Bank of America failed to appear for court on July9, 2019 and the case was


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     dropped from the calendar due bankruptcy; although the case should have been dismissed

     for failure to appear. Bank of America's attempts to alienate me from my home were

     unsuccessful; therefore, Bank of America used the "STRAW SALE" method illegally.

     Case in point, the straw sale is illegal because Bank of America was unable to complete

     the process of removing me from my home and as a result Bank of America collaborated

     with its accomplice the Defendant REI Nation also a "STRAW COMP ANY'' to obtain

     possession of my property.

  I 0. Whereas, RE[ Nation filed its own FED action in order to execute the plan. REI Nation is

     not a listed creditor of my bankruptcy case. REI Nation has never been my creditor. I

     never entered into an agreement with REI Nation.

  l l. Whereas, Bank of America N.A illegally conveyed ownership to REI Nation on June 18,

     2019; and there is a significate variance between the purchased amount v the fair market

     value as well as a variance between the loan balance. The sale should be deemed VOID

     because Carrington violated RESPA laws; intentionally misrepresented; provided a

     disservice; failed to give proper notices; breeched multiple communication agreements;

     dual tracked a foreclosure concurrently with a mortgage modification review; denied all

     foreclosure prevention programs; and appear to have foreclosed in Bank of America's

     name. In addition to that Bank of America "ROBO SIGNED" and forged the assignment

     of the my mortgage loan, transferred ownership ofmy deed -violated bankruptcy codes

     including several attempts to remove me from my house after being notified of

     bankruptcy case filing October 18, 2018.

  12. Whereas, CARRINGTON MORTGAGE SERVICES, LLC is the last known servicer of

     my mortgage loan since May 1, 2013.


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                                            CONCLUSION


          IN CONSEQUENCE, the United States Bankruptcy Court Judge Jennie D. Latta may

       have abused her discretion by granting the Defendant's motion on 9/12/2019. REI Nation's

       straw purchase from Bank of America as well as its FED action filed in the General Sessions

       Court transpired prior to getting granted relief from stay from the United States Bankruptcy

       Court hence all events should be VOID. In addition to that Bank of America's right to

       transfer and; or sale my property is unwarranted for numerous reasons including fraud. I

       pray that the 9/12/2019 judgement be set aside. I pray for entitled relief I pray to be made

       whole. I pray for compensation for all damages entitled including physical and emotional

       mJunes.


       Respectfully submitted on this 7"' day of October 2019,




(

    LaTasha Chanta Tennial




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